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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                      Case No. 11-CR-20129-35

WAYNE R. WERTH,

           Defendant.
_________________________/

                           ORDER STRIKING PENDING MOTIONS

       Before the court are two documents filed pro se by Defendant Wayne R. Werth: a

purported “Ex Parte Omnibus Motion,” and an “Addendum” to that “motion. The court

will strike the motions because, at the time of the filings, Defendant was represented by

counsel. Additionally, even if the court were to accept the pro se filings, they would be

rejected as they do not conform with the local rules, Defendant did not seek

concurrence before filing, the court does not accept addenda, and much of the relief

sought in Defendant’s “omnibus” motion is not allowed.

       Defendant is not entitled to represent himself while simultaneously represented

by counsel. A criminal defendant has the right to appear pro se or by counsel, a right

protected both by the Sixth Amendment to the United States Constitution and by federal

statute. See 28 U.S.C. § 1654 (“In all courts of the United States the parties may plead

and conduct their own cases personally or by counsel . . . .”); see also Faretta v.

California, 422 U.S. 806, 807, 832 (1975); United States v. Daniels, 572 F.2d 535, 540

(5th Cir. 1978); Ennis v. LeFevre, 560 F.2d 1072, 1075 (2nd Cir. 1977); United States
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v. Williams, 534 F.2d 119, 123 (8th Cir. 1976). This right, however, is disjunctive, thus a

party may chose either to represent himself or to appear through an attorney. There is

no right to “hybrid” representation that would result in simultaneous or alternating self-

representation and representation by counsel. A person represented by counsel must

rely upon that counsel. See, e.g., United States v. Olson, 576 F.2d 1267, 1269-70 (8th

Cir. 1978); Daniels, 572 F.2d at 540; Ennis, 560 F.2d at 1075; Williams, 534 F.2d at

123; United States v. Hill, 526 F.2d 1019, 1024-25 (10th Cir. 1975); Move Org. v. City of

Phila., 89 F.R.D. 521, 523 n.1 (E.D.Pa.1981); United States ex rel. Snyder v. Mack, 372

F.Supp. 1077, 1078-79 (E.D.Pa.1974); cf. Storseth v. Spellman, 654 F.2d 1349,

1352-53 (9th Cir. 1981) (once counsel is appointed, prisoner has no right to assistance

from inmate writer). In light of this case law, the court will only accept motions filed by

Defendant’s attorney of record.

           IT IS ORDERED that Defendant Werth’s “Ex Parte Omnibus Motion” and

“Addendum” [Dkt. ## 558, 559] are hereby STRICKEN from the docket of this court.


                                                                    S/Robert H. Cleland
                                                                   ROBERT H. CLELAND
                                                                   UNITED STATES DISTRICT JUDGE
Dated: March 29, 2013


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, March 29, 2013, by electronic and/or ordinary mail.

                                                                    S/Lisa Wagner
                                                                   Case Manager and Deputy Clerk
                                                                   (313) 234-5522




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